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              EXHIBIT B
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 · · · · · · ·UNITED STATES DISTRICT COURT

 · · · · · IN AND FOR THE DISTRICT OF WYOMING




 STEPHANIE WADSWORTH,· · · · · )
 Individually and as Parent· · )
 and Legal Guardian of W.W,· · )
 K.W., G.W., and L.W., minor· ·)
 children, and MATTHEW· · · · ·)
 WADSWORTH· · · · · · · · · · ·)
 · · · · · · · · · · · · · · · )
 · · · · · · Plaintiffs,· · · ·)
 · · · · · · · · · · · · · · · )
 · · · · vs.· · · · · · · · · ·)· No. 2:23-cv-00118-NDF
 · · · · · · · · · · · · · · · )
 WALMART, INC., and JETSON· · ·)
 ELECTRIC BIKES, LLC,· · · · · )
 · · · · · · · · · · · · · · · )
 · · · · · · Defendants.· · · ·)
 ______________________________)




 · · · · · ·DEPOSITION OF MICHAEL J. SCHULZ

 · · · · · · ·Tuesday, September 10, 2024

 · · · · · · · · Roseville, California




 REPORTED BY:· Joy E. Shure, CSR No. 3659


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 ·1· · · ·A.· ·-- more precisely.
 ·2· · · ·Q.· ·Was there any arcing found in the house?
 ·3· · · ·A.· ·Not that I'm aware of; however, I did not
 ·4· ·undertake to study that or not.
 ·5· · · ·Q.· ·Was there any arcing found anywhere on the
 ·6· ·site?
 ·7· · · ·A.· ·There are reports and there are photographs of
 ·8· ·what appear to be electrical anomalies on electrical
 ·9· ·wiring in the shed located in front of the house
 10· ·outdoors.
 11· · · ·Q.· ·Okay.
 12· · · ·A.· ·But I wasn't present for that evidence
 13· ·inspection and I've never had a close-up look at those
 14· ·artifacts, and I would defer to the electrical engineers
 15· ·that were present.
 16· · · ·Q.· ·Do you know if the electrical engineers that
 17· ·were present for the Wadsworth family have been named as
 18· ·experts in this case?
 19· · · ·A.· ·I'm not aware that they are, but I don't know
 20· ·who all of the experts are in this case.
 21· · · ·Q.· ·So based on your involvement in the case, you
 22· ·just don't have an opinion one way or the other as to
 23· ·whether the anomalies, as I think you termed it, on the
 24· ·wiring at the shed outside was indeed arcing; correct?
 25· · · ·A.· ·Correct.


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 ·1· · · ·Q.· ·You agree that there are electrical anomalies
 ·2· ·that were identified out at the shed?
 ·3· · · ·A.· ·Correct.
 ·4· · · ·Q.· ·Okay.· And those anomalies do have an
 ·5· ·appearance of arc damage; correct?
 ·6· · · ·A.· ·They do.· Those anomalies that were marked with
 ·7· ·the colored wire ties would be things that I would want
 ·8· ·an electrical engineer to look at under a microscope,
 ·9· ·and if I was present, I would have looked under the
 10· ·microscope, too, and formed more of an opinion.
 11· · · ·Q.· ·Okay.· Have you seen the microscopic images of
 12· ·the arc damage?
 13· · · ·A.· ·I have not.
 14· · · ·Q.· ·Were you aware any were taken?
 15· · · ·A.· ·I saw a reference to marking things for the
 16· ·microscope in something that I read, but I don't think
 17· ·that I've ever seen the images.
 18· · · ·Q.· ·Did any circuit breakers trip in the house?
 19· · · ·A.· ·Not that I'm aware of, no.
 20· · · · · · When I was there on Day 1, which was in May of
 21· ·2022, there were no circuit breakers that were
 22· ·identifiable in the tripped position.
 23· · · · · · There was a single circuit breaker in the
 24· ·subpanel that was off, and I think it was marked for a
 25· ·washing machine.


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 ·1· · · ·Q.· ·Do you know, as you sit here today, how many
 ·2· ·cells had expelled?
 ·3· · · ·A.· ·I don't know.· I wasn't involved in that
 ·4· ·examination.
 ·5· · · ·Q.· ·Do you know the manner in which the cells
 ·6· ·expelled?
 ·7· · · ·A.· ·I don't.· I'm not offering opinions on that.
 ·8· · · ·Q.· ·You have -- let me strike that.
 ·9· · · · · · With a fire that initiates from careless
 10· ·disposal of smoking material, that generally can be a
 11· ·smoldering type fire; correct?
 12· · · · · · MR. AYALA:· Form.
 13· · · · · · THE WITNESS:· It has a high likelihood to do
 14· ·that, yes.
 15· ·BY MR. LaFLAMME:
 16· · · ·Q.· ·Okay.· And in saying "smouldering type fire,"
 17· ·meaning that that is a fire that could initiate a
 18· ·lengthy period of time after the actual careless
 19· ·disposal of smoking materials occurs?
 20· · · ·A.· ·And before and after the flaming combustion,
 21· ·yes.
 22· · · ·Q.· ·Meaning if Mrs. Wadsworth had smoked in the
 23· ·smoking shed sometime between 1:30 and 2:00 a.m. and
 24· ·this fire initiated sometime between 4:00 and 4:30 a.m.,
 25· ·and assuming it was due to careless use of smoking


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 ·1· ·material, that time lapse is not unusual with careless
 ·2· ·use of smoking material-generated fires?
 ·3· · · · · · MR. AYALA:· Form.
 ·4· · · · · · THE WITNESS:· No, it can't be used to exclude
 ·5· ·that possibility.
 ·6· ·BY MR. LaFLAMME:
 ·7· · · ·Q.· ·Meaning the time difference from which
 ·8· ·Mrs. Wadsworth testified that she last smoked in the
 ·9· ·smoking shed and the identification of this fire had it
 10· ·started -- assuming it started in the smoking shed, that
 11· ·time lapse would not exclude careless use of smoking
 12· ·material?
 13· · · ·A.· ·No.
 14· · · ·Q.· ·Looking at Pages 56 to 59, this is a list of
 15· ·all the evidence in this case; correct?
 16· · · ·A.· ·Correct.
 17· · · ·Q.· ·All right.· And aside from visual observations
 18· ·either in person or of photographs, you have not
 19· ·physically inspected any of the evidence in this case?
 20· · · ·A.· ·Not as part of an evidence exam.
 21· · · · · · Obviously, I looked at the -- I looked at the
 22· ·hoverboard the first time we were there.· I looked at
 23· ·the outlet.· I looked at some of the branch wiring and
 24· ·so forth, but I did not look at any of this evidence as
 25· ·part of a subsequent organized laboratory inspection.


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 ·1· · · · · · · · · · REPORTER'S CERTIFICATE

 ·2

 ·3· · · · · · I, Joy E. Shure, a Certified Shorthand Reporter,

 ·4· ·holding a valid and current license issued by the State of

 ·5· ·California, CSR No. 3659, do hereby certify:

 ·6· · · · · · That said proceedings were taken down by me in

 ·7· ·shorthand at the time and place therein set forth and

 ·8· ·thereafter transcribed into typewriting under my direction

 ·9· ·and supervision.

 10· · · · · · I further certify that I am neither counsel for

 11· ·nor related to any party to said action nor in anywise

 12· ·interested in the outcome thereof.

 13· · · · · · Before completion of the deposition, review of

 14· ·the transcript [X ]was [· ]was not requested.

 15· · · · · · The dismantling, unsealing, or unbinding of the

 16· ·original transcript will render the Reporter's certificate

 17· ·null and void.

 18

 19· · · · · · IN WITNESS WHEREOF, I have hereunto subscribed my

 20· ·name on this 25th day of September, 2024.

 21

 22

 23
 · · · · · · · · · · __________________________________
 24· · · · · · · · · · · Joy E. Shure, CSR No. 3659

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